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                                                               C ERK,u.s.DlsrnlcT courrr
 4                                                                Dlsrnlc'roF NEVADA
                                                          B#                         oEpu'rv
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 6                              UN IT ED STAT ES D ISTR ICT C O U R T
                                       D ISTR IC T O F N EV A DA
 7
     UNITED STATESOFAMERICA,                        )
 8                                                  )
                          Plaintiffs                )
 9                                                  )
             v.                                     )
10                                                  )          2:10-CR-547-RLH-(GW F)
     NICHOLAS GHAFOURIA,                            )
11                                                  )
                          Defendant.
12
13                               FINA L O R D ER O F FO R FEITU RE                   '
14           On October9,2012,theUnited StatesDistrictCourtforthe DistrictofNevada entered a

15 PreliminaryOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2);Title18,UnitedStates
16 Code,Section98l(a)(1)(A)andTitle28,UnitedStatesCode,Section2461(c);Title18,UnitedStates
17 Code,Section 982(a)(1);Title21,United StatesCode,Section853(a)(1),(a)(2),arld (p);Title18,
18 UnitedStatesCode,Section 924(d)(1)s(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section
19 2461(c);and Title21,United StatesCode,Section 881(a)(l1)and Title 28,United StatesCode,
20 Section 2461(c)and based upon the plea ofguilty by defendantNICHOLAS GHAFOURIA to
21 crim inaloffenses,forfeiting speciticproperty alleged in the Superseding Criminallnformation and
22 agreed tointhePleaM emorandum and shownbytheUnited Statestohavetherequisitenexustothe
23 offenses to which defendant N ICHOLAS GHAFOURIA pled guilty. Superseding Crim inal
24 lnform ation,ECFN O.666;PleaM em orandum ,ECF No.671;M inutesofChangeofPleaproceedings,
25 ECF N o.673;Prelim inary OrderofForfeiture,ECF N o. 677.
                                                                                                      1
26 . . .                                                                                              I
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 1          This Courtfinds the United Statesof Am erica published the notice of the forfeiture in
2 accordance with the 1aw via the ofticialgovernrnentintenwtforfeiture site,w ww.forfeitttre.gov,
3 consecutivelyfrom Novem berzs,2012,throughDecem ber24,2012,notifyingallthirdpartiesoftheir
4 rightto petition the Court.Notice ofFiling ProofofPublication,ECF No.756.
5           ThisCourttindsnopelitionsweretiledhereinbyoron behalfofanyperson orentityandthe
6 tim efortiling suchpetitionsand claim shasexpired.
7           n isCourtfindsno petitionsarependingwith regardtotheassetsnamedhereinandthetim e
 8 forpresenting such petitionshasexpired.
9           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata1lright,
10 title,and interestin the property hereinafterdescribed iscondemned,forfeited,and vested in the

11 United StatesofAmerica pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
12 32.2(c)(2);Title 18,United StatesCode,Section 981(a)(1)(A)and Thle 28,United StatesCode,
13 Section246l(c);Title18,UnitedStatesCode,Section982(a)(1);Title2l,UnitedStatesCode,Section
14 853(a)(1),(a)(2),(n)(7),and(.p);Title 18,UnitedStatesCode,Section924(d)(l),(2)(C),and(3)(B)
15 and Title 28,United States Code,Section 2461(c);and Title 21,United States Code,Section
16 881(a)(l1)andTitle28sUnitedStatesCode,Section2461(c);andshallbedisposedofaccordingto
17 law :
18          1.     1 Rolex W atch;
19          2.     1 HublotG eneve W atch;
20          3.     1 Breitling W atch;
2l          4.     1JacobandCompanyW atch w/appraisalfrom gemologicallab servicesstatingwatch
                  valued at$41,000.00;
22
            5,     1Rolex W atch(2totalrolex);
23
            6.     1 Baum e and M ercier Geneve W atch;
24
            7,    1 HerstalBelgium FS2000 assaultritle,black in color,5.56 caliber,S/N :038244,
25                stored in black gtm bag w/attached fore grip/bi-pod and attached light;
26


                                                  2
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 1         8.    lDPM S PantlwrArmsw/attached scope, blaok in colorlonggun,caliber308,m odel
                 LR-308,Sm :5381,stored in black gtm bag;
 2
           9.    2 clips,onewith 223 nmmo,lwith 308 ammo,in black gun bag;
 3
           10.   1IZHM ASH Long Gunw/attached grip,scopesand light, Sm :1-109403606;
 4
           11.   1HerstalBelgitun SCAR l65AssualtRifle w/attached scope, grip,and light,tan in
 5               color,Sm :LC410159;
 6         l2.   1Sm ith & W esson P22, .22LR caliber,S/N :L347151;
 7         13.   l FN P 45,45 caliber,S/N :61DM P11804;
 8         14.   1Norinco model213,0 mrn caliber, S/N:725954;
 9         15.   1FNH,FNP-357,.357 calibersS/N :61EM R 10379;
10         l6.   1masterpiecearm s9mm w/attachedbarrelextensionand light, Sm :F100l7;
11         l7.   lM asterpieceArm s45 A CP w /attachedbarrelextension, lightand scope,S/N :A 9358;
12         18.   1Long Gun,Barrel7.62 mm , S/N :27439
13         19.   1K SportsGun Case;
14         20.   1 Silotgtm D rum Barrelw/19 R otm ds, no SN ;
15         2l.   lAllianceArm amentw/27 W inchester 12 gauge shotgun shells;
16         22.   1AllianceAnnamentm agazine, w/34 .22 caliberrotmds;
17        23.    1m agazine 40 S& W a.357 sig,w/14 reunds;
18        24.    18.5''M ag40 CalS&W w/30 rounds;
19        25.    lM ag .223,w/24 rounds)
20        26.    1 15.5'
                       'mag,9m m w/50 rotmds;
21        27, 1 10,'m ags45 cal,w/17 rounds;
22        28.    1 black m agazine w /8 rounds grnm , Sm :5954;
23        29.    lM ag-Saiga 12,11roundsdouble00 buck;
24        30.    1m ag,45 acps13 rounds)
25        31.    1 Lellier& BellotBuck ShotBox w/17 rounds;
26        32. M ossberg Shotgtm,Sm :7-517595;

                    '
                                                 3
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     1         33.   A1f.
                        47 w/attached lightand grip, S/N :DR-5109-09;          '
     2         34.   FNH ,cal5.7 x 28, S/N:386143079,w/barrelextension and variousm agazines;
     3         35.   Glock magazinew/940caliberrounds;
     4         36. m agazine w /18 5.7 rounds;                 '
     5         37.   l762 rotmd,1-223 rotmd, 1 -5.7 round;
     6         38.   1fourmagazineholsterw/threeloaded magazines60 5.7 x 28 rounds;
     7         39.   1 m agazine w/26 rotm ds;
     8         40.   2 em pty m agnzlnes;
     9         41.   380 auto rounds;
    10         42.   25 auto rounds;
    11         43.   13O8winchestersoftgrainpoint;
    12         44.   .22 long rillerounds;
    13         45.   2 -armno containerscontaining shotgun shells;
    14         46.   2 mnm o casesconm ining 7.62 x 391:1m rounds;
    l5        47. 1ammocaseconlintng5.56rounds;
    16        48.    1am mo casecontaining 9m m rounds;
    17        49.    lnmm o cmsecontaining 5.7 x 28 mm rounds;
    18        50.    1 arnm o case containing 45 caliberrotm ds;
    19        51.    1amm o case conuining 40 calrounds;
    20        52.    1ShotgunsSPAS 12,S/N :AA 14591;
    21        53.    1 W inchesterRifle w/case, 30-30 caliber,SJN :6562223;
    22        54.    1 D esertEagle Sem iAutom atic 44 caliber, S/N :22692;
    23        55.    l Revolver, Colt45,45 caliber,S/N :p21462;
    24        56.    1 Sm ith & W esson, sem i-auto,m odel# 5906,S/N :TCT7120;

    25        57. 14rotmds9mm ammoand1magazine(associatedwithSmith& W essonTCT7120);
    26        58. 9rounds44 caliberammow/magazine(associatedwithDesertEagle22692);

                                                     4
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     1           59.   1black gun box;
     2           60.   1Browning 22 caliber,S/N :16025-
                                                      1-37;
     3           61.   l35 caliberritlew/attached scope,M arlin Fireanns, S/N:.
                                                                              115202;
     4          62.    1revolverwith black handle,Sm :16120;

     5          63. 1Smith& W esson 3:special(silver)w/woodhandle,S/N:92737)and
     6          64. Aninpersonam criminalforfeittlremoneyjudgmentof$l,22l,186.00inUnitedStates
                       Currency.
     7
                 ITISFURTHER OO EM D,ADD DGED,AND DECM ED thatM yM dal1forfeitedfunds
     8                                                                                              ,
         including butnotlim ited to,currency, currency equivalents,certificatesofdeposit,aswellasany
     9
         incomederived msaresultofthe United StatesofAmerica'sm anagem entofany property forfeited
    10
         herein,andtheproceedsfrom thesaleofany forfeited property shallbedisposed ofaccordingtolaw
    11                                                                                                .
                 n e Clerk ishereby directed to send copiesofthisOrderto a11counselofrecord and three
    12
         certified copiesto theUnited StatesAttom ey'sOflice.
    13
                DATED this         V
                                   *     dayof         Da .      ,   2013.                                '
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    j6                                                                                     z

    17                                                                ST TES Dl 'IR ICT JUDGE
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